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VIA ECF

Honorable Magistrate Judge Debra C. Freeman
United States Courthouse
500 Pearl Street
New York, New York 10007

        Re: Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Judge Freeman:

         Pursuant to the Court’s direction at the July 28, 2021 teleconference (“July 28
Teleconference”), I write on behalf of the Court-appointed temporary receiver, Robert W. Seiden
(“Receiver”), regarding issues raised by the motion of Defendant Vincent Wenyong Shi (“Shi”)
to toll the statute of limitations on Link Motion Inc.’s (“LKM” or the “Company”) potential claim
for legal malpractice against DLA Piper LLP and certain individual lawyers employed there
(collectively, “DLA”). ECF 211-214 (“Motion to Toll”).

   I.      Defendant Shi’s Motion To Toll

        By way of background, on March 2, 2021, Shi filed his Motion to Toll, seeking to toll the
three-year statute of limitations on LKM’s potential legal malpractice claim against DLA. See
ECF 211 at 1-2. The purported basis for Shi’s motion was that, in January 2019, DLA stipulated
and agreed to the appointment of the Receiver (ECF 22) while failing to inform LKM that Plaintiff
Wayne Baliga (“Plaintiff” or “Baliga”) was not a “shareholder” of LKM. See ECF 214 at 1. In
Shi’s view, because at the time of Plaintiff’s filing of the Complaint Baliga was an owner of
LKM’s American Depository Shares (“ADS”), as opposed to being a registered owner of LKM
shares, Baliga lacked standing to sue derivatively on behalf of the Company and seek the
appointment of a Receiver over the Company. See ECF 214 at 3-6. Shi conjectures that had DLA
informed LKM of this, LKM would never have consented to the appointment of the Receiver.

        In so doing, Shi maintains that up is down and black is white: that the Receiver, not Shi,
is the villain of this story, purportedly causing financial harm to the Company. See ECF 214 at
7. This is the case even though, as the Receiver’s submissions in this action have detailed, Shi
shuttered the Company’s offices, robbed the Company of tens of millions of dollars, did not pay
Company employees’ salaries, breached his fiduciary duties to the Company by pledging
substantially all of the Company’s assets for no consideration, cut off funding to the Receivership

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to block the Receiver’s work, fought the Receivership at every turn, and, upon information and
belief, fled China due to an investigation into his kidnapping of LKM’s co-founder and
embezzling tens of millions of dollars of Company funds. See ECF 239 at 4-13; see generally
ECF 239-1; see also ECF 210-1 at ¶¶145-157, 199.

        On April 23, 2021, the Court ordered Shi to provide supplemental briefing on the issue of
what jurisdiction’s statute of limitations Shi was seeking to toll and when that statute of
limitations would otherwise expire. ECF 217. In his response dated April 26, 2021, Shi
maintained that New York law governed LKM’s legal malpractice claim against DLA. See ECF
218 at 1. While Shi did not definitively set forth when the malpractice claim would expire, he
indicated that it would likely expire on December 21, 2021. See ECF 218 at 2.

        On April 27, 2021, counsel for Plaintiff responded to Shi’s Motion to Toll, setting forth
why Shi’s arguments concerning Baliga’s purported lack of standing were premature and why
Shi lacked standing to bring any claims against DLA on behalf of LKM. See ECF 219 at 1.
Plaintiff also maintained that Shi should not be allowed to stand in a fiduciary position with regard
to the Company, given that he had already been found to have breached his fiduciary duties to
LKM (ECF 210-1 at ¶¶149-58); see ECF 219 at 1. Moreover, Baliga explained that it was the
Receiver, not Shi, who was the appropriate person to evaluate and bring any malpractice claim
against DLA under the Court’s Receivership Order. ECF 219 at 2; see also ECF 26.

    II.      The July 28 Teleconference

       On July 13, 2021 and in response to counsel for Plaintiff’s request for a conference on
Shi’s Motion to Toll (ECF 215), the Court ordered that a teleconference be held on July 28, 2021.
ECF 237.

        During the July 28 Teleconference, the Court noted that in the event that the Receivership
is discharged pursuant to Shi’s motion (ECF 230) and the statute of limitations on LKM’s
malpractice claim against DLA expires, the Receiver could find himself “in some trouble with
the company going after him for breaching fiduciary duties and not pursuing something that was
a viable and perhaps valuable claim.” Transcript of July 28 Teleconference (“Tr.”), 7:5-71; see
also Tr. at 15-16:23-8 (“If and when the receiver is discharged, if it takes so long to do that that
the claim against the former counsel for the company becomes time-barred, that, if it is a viable
claim … maybe it’s viable, maybe it isn’t … But if it’s gone because of the statute of limitations,
the receiver bears the risk that the receiver let a potentially viable claim go because the receiver
didn’t take any steps to preserve the claim.”); Tr. at 18-19:15-1. Accordingly, the Court sought
guidance as to “why is it so evident, as Mr. Shi seems to suggest, that the receiver would not have
any interest in seeking to toll the statute of limitations?” Tr. at 16:19-22; see also Tr. at 17-18:23-
5 (“Why wouldn't the receiver, knowing that there’s at least an argument that’s being made that
it’s a decent malpractice claim, why wouldn't the receiver be interested in seeking to toll the
statute of limitations on a potential claim of the company even if he doesn’t think it’s a claim that
should be brought at this time?”); Tr. at 20-21:16-7.


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 All references to the transcript from the July 28 Teleconference are cited herein as “Tr. at __.” Unless otherwise
noted, all internal quotations and citations are omitted. All emphasis is added unless otherwise stated.

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         In response to the Court’s inquiry, counsel for the Receiver explained that, as to a potential
claim for malpractice against DLA, the Receiver would not object to the Court’s tolling the statute
of limitations. See Tr. at 21:8-17. The Court then directed counsel for the Receiver to discuss
with the Receiver whether the Receiver would affirmatively seek a tolling of the statute of
limitations on behalf of the Company; the Court noted that if the Receiver decided to seek such
relief, the Court would “like to have something on the docket reflecting that.” Tr. at 23:2-3; see
also Tr. at 22:3-13; Tr. at 23:11-13 (“I think we should find out from the receiver what he wants
to do under these circumstances, and he should say so.”). Further, the Court requested case law
on whether an application to toll a statute of limitations should be made ex parte or if DLA should
be involved in the briefing. See Tr. at 30:16-31:10.

        Pursuant to the Court’s directive, the Receiver sets forth his position on these issues, as
reflected below in Sections III, IV, and V of this submission.

    III.     A Court Ruling on Tolling The Statute Of Limitations At This Time Would Be
             An Improper Advisory Opinion

         The expiration of a statute of limitations is an “affirmative defense, the determination of
which requires a consideration of the merit of both parties’ claims and defenses.” Garcia v.
Pancho Villa’s of Huntington Vill., Inc., 268 F.R.D. 160, 166 (E.D.N.Y. 2010); see also Calcutti
v. SBU, Inc., 224 F. Supp. 2d 691, 697 (S.D.N.Y. 2002) (Marrero, J.)
(“the statute of limitations is an affirmative defense”). Accordingly, whether a statute of
limitations is tolled should be addressed “on a motion for summary judgment or at the time of
trial.” Garcia, 268 F.R.D. at 166; see also Calcutti, 224 F. Supp. 2d at 697 (“Questions of fact
that arise in applying a statute of limitations are for the trier of fact.”).

        Here, any ruling on the tolling of a statute of limitations for a potential malpractice claim
against DLA would constitute an improper advisory opinion. There is no malpractice claim
pending against DLA. The filing of any such claim is entirely hypothetical; Shi’s mere desire to
have LKM pursue such a claim in the future does not mean that there is any “live” controversy
before the Court.2 Likewise, at this time, any application by the Receiver to request that the
Court toll the statute of limitations on a potential future claim would require the Court to rule on
a hypothetical controversy. Further, DLA is not a party to this action and has not raised a statute
of limitations affirmative defense. Under these circumstances and at the present time, any ruling
on the tolling of a statute of limitations would be improper. See U.S. v. Cook, 795 F.2d 987, 994
(Fed. Cir. 1986) (noting that a federal court cannot “sit to decide hypothetical issues or to give
advisory opinions about issues as to which there are not adverse parties before [them].”; vacating
as premature an Eastern District of New York’s “order that dealt with tolling [as it] affected no
right of any party to the suit. That portion merely stated what the court might do if and when it
may be confronted with an untimely claim.”); Gorelik v. U.S., 2008 WL 4773125, at *1 (E.D.N.Y.
Oct. 30, 2008) (denying request to toll statute of limitations as “Defendants are requesting that

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  “The burden of demonstrating the appropriateness of equitable tolling … lies with the plaintiff.” Zhongwei Zhou
v. Wu, 2017 WL 1233994, at *3 (S.D.N.Y. Mar. 31, 2017) (citing Boos v. Runyon, 201 F.3d 178, 185 (2d Cir. 2000)).
As the Court indicated at the July 28 Teleconference, Shi likely lacks standing to toll the statute of limitations on a
legal malpractice claim by the Company against its former counsel. See Tr. 23:3-4 (“Because my inclination is to
say that Mr. Shi lacks standing to ask for that relief[.]”).

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this court render an advisory opinion on the validity of arguments to be offered in a hypothetical
complaint.”); Corsello v. Verizon New York, Inc., 976 F. Supp. 2d 354, 357 (E.D.N.Y. 2013)
(refusing to address an equitable tolling declaratory judgment claim as it was an “advisory
opinion[] regarding the Defendants’ anticipated defenses.”); Melendez v. Original Designs, Inc.,
1987 WL 12018, at *3 (E.D.N.Y. June 1, 1987) (denying request to toll the statute of limitations
for non-parties as such an order would constitute an advisory opinion); Guo v. IBM 401(k) Plus
Plan, 95 F. Supp. 3d 512, 527 (S.D.N.Y. 2015) (“the Court declines to render
an advisory opinion [concerning equitable tolling] on what Plaintiff may allege in an amended
complaint.”).

   IV.     LKM Can Seek To Toll The Statute Of Limitations At A Later Time

        Notwithstanding that for the reasons discussed above in Section III a decision to toll the
statute of limitations at this time would be an impermissible advisory opinion, the Court would
still have the authority to toll the statute of limitations at a later date — if and when the issue
becomes ripe.

        A court’s authority to toll a statute of limitations derives from its power to resolve
questions of equity. See Upadhyay v. Sethi, 2012 WL 1195233, at *1 (S.D.N.Y. Apr. 5, 2012).
Under the doctrine of equitable tolling, the statute of limitations is extended “as a matter of
fairness where a plaintiff has been prevented in some extraordinary way from exercising his
rights[.]” Johnson v. Nyack Hosp., 86 F.3d 8, 12 (2d Cir. 1996). While it is a fact-intensive
inquiry, “[g]enerally, equitable tolling has been allowed where the claimant has actively pursued
his judicial remedies by filing a defective pleading during the statutory period[.]” Johnson v.
Capra, 2017 WL 8683606, at *4 (S.D.N.Y. Sept. 29, 2017). In determining whether to allow
equitable tolling, courts consider whether the plaintiff “(1) has acted with reasonable diligence
during the time period she seeks to have tolled, and (2) has proved that the circumstances are so
extraordinary that the doctrine should apply.” Zerilli-Edelglass v. New York City Transit Auth.,
333 F.3d 74, 80–81 (2d Cir. 2003).

        Here, both elements can potentially be shown if LKM were to ever file a malpractice claim
against DLA (and DLA were to contend that the statute of limitations had expired). LKM could
argue that Shi acted with reasonable diligence by filing an application to toll the statute of
limitations on the Company’s claim for legal malpractice prior to December 21, 2021, even if the
Court found that Shi lacked standing or otherwise declined to rule on the application. See ECF
214; 218; Kelmetis v. Fed. Natl. Mortg. Assn., 2017 WL 395120, at *6 (N.D.N.Y. Jan. 27, 2017)
(quoting Irwin v. Dep’t of Veterans Affairs, 498 U.S. 89, 96 (1990)) (“Equitable tolling has been
allowed in situations where the claimant has actively pursued his judicial remedies by filing a
defective pleading during the statutory period”). In the event that the Receiver were to be
discharged and Shi were to regain the ability to cause the Company to bring claims, Shi’s
application will likely meet New York’s standard for reasonable diligence. See Ruiz v. Suffolk
County Sheriff’s Dept., 2008 WL 4516222, at *8 (E.D.N.Y. Oct. 2, 2008) (noting that reasonable
diligence is shown by the petitioner taking an “affirmative action” to “preserve its right.”).

      As to the “extraordinary circumstances” prong, Shi maintains that the purportedly
improper appointment by the Court of the Receiver prevented the Company’s prior directors from

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bringing a legal malpractice claim against DLA. See ECF 214 at 8-9. While the Receiver
disagrees completely with the merits of Shi’s claim, if the Receiver were to be discharged and
Shi were to regain control of the Company, then the Company could plausibly argue that it faced
extraordinary circumstances which prevented it from pursuing a malpractice claim against DLA,
including that the Receiver (not Shi) controlled the Company. See Roundtree v. City of New York,
2018 WL 443751, at *3 (S.D.N.Y. Jan. 16, 2018) (“The term ‘extraordinary’ refers not to the
uniqueness of a party’s circumstances, but rather to the severity of the obstacle impeding
compliance with a limitations period.”).

   V.      New York Law Applies

         New York law governs the statute of limitations for a legal malpractice claim, because the
application of a statute of limitations is considered a “procedural” issue (as opposed to a
“substantive” one) and is thus governed by the law of the forum. See Vincent v. Money Store,
915 F. Supp. 2d 553, 568–69 (S.D.N.Y. 2013) (under New York law, “statutes of limitations are
considered procedural,” and “it has generally been held that the [s]tatute of [l]imitations of the
forum rather than that of the jurisdiction where the cause of action accrued governs the timeliness
of a cause of action”); Gerena v. Korb, 617 F.3d 197, 206 (2d Cir. 2010) (“New York still adheres
to the traditional substantive/procedural dichotomy in its choice of law analysis and generally
classifies statutes of limitations as procedural”). Under New York law, the statute of limitations
for a legal malpractice claim is three years, “computed from the time the cause of action accrued
to the time the claim is interposed.” 3rd & 6th, LLC v. Berg, 53 N.Y.S.3d 78, 79 (2d Dept. 2017);
see also CPLR § 214. The statute of limitations begins to accrue on the day of an actionable
injury. 3rd & 6th, LLC, 53 N.Y.S.3d at 79.

        We are available to discuss the foregoing with the Court.

                                                     Respectfully Submitted,

                                                     /s/ Amiad M. Kushner
                                                     Amiad M. Kushner

                                                     Counsel for Robert W. Seiden
                                                     Court-Appointed Temporary Receiver
                                                     for Link Motion Inc.

cc: All counsel of record (via ECF)




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